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Exhibit 40
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
MDL Docket No. 1629
Master File No. 04-10981

WOR KKK RR RR KR RR KR KR RR KK RK EKER KEE

In Re: NEURONTIN MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION,

RK KK RRR KKK RR KR KK RK KKK KKK KEKE RES

THIS DOCUMENT RELATES To:

HR RRR KOR KK KR RK KR KKK EKER KEK KES

HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY
COMPANY, dba BLUECROSS/BLUESHIELD OF
LOUISIANA; INTERNATIONAL UNION OF
OPERATING ENGINEERS, LOCAL NO. 68
WELFARE FUND; ASEA/AFSCME LOCAL 52
HEALTH BENEFITS TRUST; GERALD SMITH;
and LORRAINE KOPA, on behalf of
themselves and all others Similarly
Situated, v. PFIZER INC. and
WARNER-LAMBERT COMPANY.

WORK RK RR RR RR RRR KKK RRR KE

THE GUARDIAN LIFE INSURANCE COMPANY
OF AMERICA v. PFIZER INC. and

AETNA, INC. v. PFIZER, INC.

RRR RR RR RK KR RRR RRA KKK KE

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

RR RRR RR RR KK RR RR KR KKK KKK ERE KE

In Re: NEURONTIN PRODUCT LIABILITY
LITIGATION

HORROR RRR RR ROR RRR KOR RR KER RR Index No.

THIS DOCUMENT APPLIES TO: 765000/06
ALL CASES

HR Rk ROR KR OR RR RRR RR RRR KR KR KK RK

 

 
OID FW DY PE

NNNNUNPRP PEEP Eee Dy
PWNRF OW OA IHUNBRWNHOE Ow

On~7DO PWD

NNNNNPHEBHEP EPP BE eK
PoONnNPRFP OCwW MOI HM PWNHY FH OO vO

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experiences with a given medication, correct?
MS. NUSSBAUM: Objection.

A. I think more relevant factors would
include formularies, availabilities and
therapies, differences in the patient population
in terms of their financial resources, their
educational level. There's a variety of factors
that would go into that decision.

BY MR. POLUBINSKI:

Q. Okay. But you would agree that --
well, withdrawn.

You prescribe medicines, right?

A. Yes.

Q. How often?

A. I mean on a daily basis when I
practice medicine.

Q. When treating a new patient, how do
you determine what medication will best fit that
patient's needs?

MS. NUSSBAUM: Objection.
MR. RONA: Objection.

A. It's the fairly complicated process of
looking at the patient's indication, looking at
their other comorbid health conditions, looking

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experience with a medicine in deciding whether
or not to prescribe it?

A. Yes.

Can I clarify that question? Sort of
do you mean my own experience, my own
familiarity with a medication and how much I
know about it, or my own past history of
previous response in my other patients?

Q. Well, that's a good question, and
maybe we can break it down a little bit.

So, for example, if in your experience
a particular patient to whom you'd prescribed a
medication experienced an intolerable side
effect, would you continue to prescribe that
medicine to her?

A. To that particular patient, no.

Q. What about if many patients to whom
you prescribed a medication experienced
intolerable side effects, would that impact your
decision on whether or not to prescribe that
medicine to similar patients in the future?

MS. NUSSBAUM: Objection.
MR. RONA: Objection.
A, Ifthat number of many were a high _

 

 

Ili

at what other medications they're already on,
evaluating the severity of their problem, you
know, the anticipated benefit of one versus
alternative medical therapies, the patient's
preferences for treatment, the cost, a variety
of other factors.

BY MR. POLUBINSKI:

Q. Iassume you'd consider what other
treatments have been tried with a particular
patient as well?

A. And their other personal history, yes.

Q. When you consider whether or not to
prescribe a medicine, do you consider the label
or the package insert for that medicine?

A. Ido consider, you know, the FDA
approval indications. I rarely rely on package
inserts as a source of information.

Q. [take it from -- well, withdrawn.

I take it that in writing a
prescription you do consider the extent to which
that particular medication is covered by a
patient's health coverage?

A. Yes, I do.

Q._And do you consider your own

 

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enough proportion, yes.
BY MR. POLUBINSKI:

Q. Okay. Ifa patient to whom you
prescribed a medicine told you that the medicine
did not work, I assume that would impact your
decision on whether or not to continue to
prescribe it for that patient, correct?

MS. NUSSBAUM: Objection.

A. Yes, it may.

BY MR. POLUBINSKI:

Q. And likewise, I assume if a patient to
whom you prescribed a medicine told you that the
medicine did work, that that would play some
role in your decision on whether or not to
refill that prescription?

MS. NUSSBAUM: Objection.
MR. RONA: Objection.

A. Yes, it may.
BY MR. POLUBINSKI:

Q. And if you prescribed a medicine to
many patients and it did not seem to work for
any of them, would that impact your
decision-making on whether or not to prescribe
that same medicine to similar patients?

 

 

29 (Pages 110 to 113)
O~7yrnN OB WDHB

NNNNNRFPRP PBB Pe ep
BPWNPOWDA IA AWHHE OW

onwnamn bP WwW Pp

NNNNNRPPP PHP EPP pPE
PWHYH OW DIHUBWNHYE OW

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MS. NUSSBAUM: Objection.

A. No.

BY MR. POLUBINSKI:

Q. Have you ever been detailed on
Neurontin?

MS. NUSSBAUM: Objection.

A. I don't think so,

BY MR. POLUBINSKI:

Q. Have you ever received free samples of
Neurontin?

A. No.

Q. You read medical journals, correct?

A. Yes.

Q. Do you look at advertisements in those
journals by pharmaceutical companies?

A. Seldom.

Q. Do you consider journal advertising to
be an important source of information for you in
exercising your medical judgment in making
prescribing decisions?

MS. NUSSBAUM: Objection.
MR. RONA: Objection.

A. Well, [read most journal articles

on-line now, so I rarely see print journal

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have any patients currently on it for mi graine
prophylaxis, but I have in the past prescribed
it for migraine prophylaxis.
Q. When was the first time you prescribed
gabapentin?
MS. NUSSBAUM: Objection.
A. At my institution its use was
restricted to neurologists until it became
available generically. So I can't pinpoint a
date, but it was sometime after it became
generically available that I used it very --
prescribed for it very frequently.
BY MR. POLUBINSKI:
Q. What kind of neuropathic pain do you
prescribe Neurontin for, or gabapentin?
MS. NUSSBAUM: Objection.
A. I believe I've used it for
hyperalgesic -- I believe I've used it for
hyperalgesic diabetic peripheral neuropathy,
which is probably the most common neuropathid
pain indication that I see. I don't recall if
I've used it for other neuropathy indications.
BY MR. POLUBINSKI:
Q. How frequently do you prescribe it for

 

 

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advertisements.
BY MR. POLUBINSKI:

Q. When you did see them, did you
consider them to be an important source of
information for you in making prescribing
decisions?

MS. NUSSBAUM: Objection.

A. No.

BY MR. POLUBINSKI:

Q. Would you view journal advertisements
with any skepticism?

MS. NUSSBAUM: Objection.

A. I guess, yes, I would view them as
potentially biased information.

BY MR. POLUBINSKI:

Q. Okay. You testified that you have

prescribed gabapentin, correct?
Yes.

Q. Do you currently prescribe it?

A. Yes.

Q. For what conditions?

A. I've prescribed it as an
anti-convulsant, I've prescribed it for

 

neuropathic pain complaints. I don't think I

125

painful diabetic neuropathy?
MS. NUSSBAUM: Objection.
MR. RONA: Objection.

A. I couldn't give you a percentage. I
know it's less frequently than I prescribe other
alternatives.

BY MR. POLUBINSKI:

Q. Do you refill prescriptions of
gabapentin for diabetic peripheral neuropathy?

A. Yes.

Q. Iassume you do that because you
believe it is an effective treatment for the
patients who are taking it?

MS. NUSSBAUM: Objection.
MR. RONA: Objection.

A. Ido that if the patients say it's
working for them.

BY MR. POLUBINSKI:

Q. But I guess the question is; do you
believe it's an effective treatment for the
patients who are taking it?

MR. RONA: Objection.

A. You know, I would have to say that my

review of the evidence on this case has changed

 

 

32 (Pages 122 to 125)
OI Nn Mm PWD BE

NNNNNFPP BPE PEPE
PWN OWA IAADUBWNHNE Ow

O~w7nNU bWN HE

NNNNNEPPRP BPH EEE
PBWNYR OW WTHNRAMO PWN FH Oo

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my belief in the efficacy of gabapentin, so
currently as I refill a prescription for
gabapentin I do so reluctantly with less belief
in the efficacy of gabapentin than I used to
have. I am more doubtful that it's effective.
BY MR. POLUBINSKI:
Q. But you still prescribe it, correct?
MS. NUSSBAUM: Objection.

A. There are some patients I still
prescribe for, yes.

BY MR. POLUBINSKI:

Q. Would you prescribe a patient a
medicine if you didn't think the medicine was
effectively treating their condition?

MS. NUSSBAUM: Objection.
MR. RONA: Objection.

A. You know, I would say that I at least
have some doubt that some patients benefit from
it. And if a patient has been on it, had a good
response, I'm willing to continue it under the
belief that that patient may be getting some
benefit from it, yes.

BY MR. POLUBINSKI:
Q. Do any of the patients to whom you

128

Q. Some number of the patients who report
side effects, I take it, are willing to tolerate
those side effects and stay on the medicine?

MS. NUSSBAUM: Objection.

A. Yes, I've had some patients with the

first two of those say that those are tolerable. -
BY MR. POLUBINSKI:

Q. And other patients who take the
medicine don't experience any of these side
effects, correct?

A. Yes.

MS. NUSSBAUM: Objection.
BY MR. POLUBINSKI:
Q. Have you ever taken Neurontin
yourself?
A. Yes.
Q. How recently?
A. In November and December of 2008 --
no, 2007. I'm sorry.
Q. For what condition?
MS. NUSSBAUM: Objection.

A. Chronic back pain and neuropathy.
BY MR. POLUBINSKI:

Q. Was that the only time you took it?

 

 

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prescribe or have prescribed gabapentin
experienced side effects of which you're aware
that you believe to be associated with their
gabapentin use?

MS. NUSSBAUM: Objection.

A. Yes, quite a few of my patients have
reported side effects from gabapentin.

BY MR. POLUBINSKI:

Q. What side effects?

MS. NUSSBAUM: Objection.

A. Sometimes drowsiness, sometimes a
feeling of sort of, I don't know, spaciness or
some sort of cognitive effects, sometimes I
think memory impairment, sometimes emotional.
abilities, sometimes depression. I think that's
probably about it.

BY MR. POLUBINSKI:

Q. How do you know about these side
effects?

MS. NUSSBAUM: Objection.
MR. RONA: Objection.

A. From patients reporting or querying

them about it.

 

BY MR. POLUBINSKI:

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A. Yes.

Q. You're aware that Neurontin isn't
indicated for the uses for which you took it,
correct?

MS. NUSSBAUM: Objection.

A. Yes,

BY MR. POLUBINSKI:

Q. How long did you take it?

A. Six to eight weeks maybe.

Q. Did it relieve your chronic back pain?

A. It didn't really have much effect on
my pain.

Q. Did it have any effect?

A. Inoticed some side effects, it made
be sleep better at night and it made me feel
bad. There was some disquieting thing that it
gave me, that I decided to stop taking it
because of side effects and lack of efficacy.

Q. Did it improve your back pain at all?

A. No.

Q. Why did you decide to prescribe it to
yourself?

A. I didn't prescribe it to myself,

MR. RONA: Objection.

 

 

33 (Pages 126 to 129)
on~7aA UB WD BR

NNNNNPPRP BBR HRP HE
PW NYP OO DOAID MO PWN FP Ow

OBarwAINDN OT PWD PB

NNNNNF PPP Pe PEE EE
BWNHYPOWDAINAUKRWNHHE OW

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headache?
MR. RONA: Objection.

A. Migraine is one form, one headache
disorder among many. So migraines are
characterized by, you know, different features,
different duration, different severity from
tension-type headaches, which would be the other
most common form of headache that one would be
trying to differentiate from.

BY MR. POLUBINSKI:

Q. Is it correct to describe migraines as
a subset of headaches more generally, or are
there some categories of migraine that you
wouldn't consider to be headaches at all?

A. You asked two questions in one, so let
me deal with the first.

Actually could you read the question
back to me again?

(Whereupon, the reporter read back the
pending question.)

A. Okay. I would describe migraines as
being a type of headache. I don't know that I
know what headache more generally means.

So there are a variety of different

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A. Yes,

Q. Let me ask you first, what are the
generally established criteria for efficacy in
your report?

A. Well, the generally established
criteria threshold for efficacy would be --
would involve a chance of less than one in 20
that the results observed in any one trial were
due to chance alone, so an alpha value .05. So
it would refer to how certain we are that the
observed results are, you know, statistically
significant.

And that's assuming that the study's
been done with an outcome measure that is
thought to be clinically relevant, and that the
magnitude of an effect is thought to be greater
than some minimal clinically significant size of
an effect.

So the magnitude on effect is large
enough to be considered clinically significant,
the data would be considered to be statistically
significant at the .05 level, and the people use
the study design and outcome measures.

Q. Are the criteria that you just

 

 

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types of headache, migraine is one type of
headache, headache diagnosis.

Among migraines, there are certain
types of migraines that do not have head pain as
well as symptoms like opthalmoplegic migraine
where, you know, it would be primarily the
visual symptoms that would occur and you
wouldn't have head pain. So just semantically
you might not want to really call that a
headache.

But in general most migraines would --
most migraines are associated with head pain,
headache.

BY MR. POLUBINSKI:

Q. In your executive summary of your
report on Page 1, you write in the second
paragraph "based on my assessment of the
published and unpublished reports from four
unique double-blind, placebo-controlled
randomized trials of gabapentin for migraine
prophylaxis, in my opinion, the total evidence
does not meet the generally established criteria
for efficacy."

Did I read that correctly?

 

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described established by an independent
governing body of some kind?
MR. RONA: Objection.

A. I think when I was using the word
"generally established," I think I was referring
to a broader consensus among, you know,
physicians and others. I mean each specific
governing body might have specific criteria.
For example, the FDA uses their own set of
criteria, and others may use things that are
slightly different.

I think that what I describe as
generally established I think should be the
least common denominator among a variety of
groups. I think most people would agree that
that's the minimum basis for criteria for
efficacy.

Q. The alpha value that you described, is
that also sometimes called a P value, or is it
different?

A. Yes. The alpha, the alpha would be
the threshold for the P value. P value would be
-- refer to a given set of data, and alpha would
be the threshold for decision-making.

 

 

35 (Pages 134 to 137)
OanxnyAnDU PWN

NNNNNPRBP RPE HEP EE
PWNP OW OIHDHUOBWNE OW

SATIN U FWNYP

NNNNNP PH PEEP EEE
PWN PrP OCH WMOAITIHDH UO FwWNHH Ow

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Q. In your experience, is the maximum
alpha value associated with generally
established criteria for efficacy .05, or is it
ever higher than that?

A. It's often -- it's sometimes lower
than that in situations where, you know, there's
greater risk of treatment or other things.
Sometimes people might require more stringent
criteria for efficacy. It's seldom less than
that -- I'm sorry. When I say higher than that,
I mean more extreme, down to .OL or so.

Q. Yes.

A. So in that range above, .05 and above
like to .1 or so forth, some people refer to
that as a trend, and I think it's something
people describe as something that might spur
future research or might indicate a possible
effect, but in general is not regarded as
definitive.

Q. Is your application of your generally
established criteria for efficacy limited to the
results of DBRCTs?

A. I think it could be applied more
broadly, but I mean I think that double-blind,

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Q. And this wasn't a conclusion that was
based on your own clinical experience, was it?
A. No, I would say this is based on the

data I reviewed in the report.

Q. When you talked about generally
accepted or generally established criteria for
efficacy -- well, withdrawn.

This particular sentence of your
report, the one where you write "the total
evidence does not meet the generally established
criteria for efficacy," is that a conclusion
that is based upon the meta-analysis that you
describe in the next paragraph, or is it somehow
independent of that?

A. [would think it is based on my
systematic review and reading of the trials even
without, even without the meta-analysis,
although the meta-analysis I think is consistent
with that. I think I use the meta-analysis as a
tool to augment the systematic review.

Q. Okay. With regard to the systematic
review, is there -- well, withdrawn.

In the abstract not necessarily
related to gabapentin, would it ever be enough

 

 

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randomized controlled trials would be the most
valid form of evidence, the least subject to

bias. And when you consider the statistical
significance of less rigorous study designs, you
need to also factor in other reasons for bias or
uncertainty in the results beyond, strictly
speaking, the P value that you calculate from an
analysis.

Q. So in the work that you did, the total
evidence that you're talking about here
included, I'm assuming, just DBRCTs, is that
correct?

A. Yes, I believe that's true.

Q. You didn't consider case reports, I
take it, in your conclusion?

A. That's correct.

Q. Or open label studies?

A. I didn't cite the open label study.

Q. And I assume in the conclusion that we
just read about your conclusion that the total
evidence does not meet generally established
criteria for efficacy that you didn't consider
anecdotal evidence in reaching that conclusion?

A. That's true.

 

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under your generally established criteria for
efficacy that a single DBRCT might show a
positive result?

A. Could you repeat the question?

Q. Let me actually try it again.

A. Okay.

Q. Under the generally established
criteria for efficacy that you apply here, would
it ever be possible to establish efficacy
through a single DBRCT?

MR. RONA: Objection.

A. I mean a single large, well-designed
representative clinical trial that shows a high
degree of statistical significance and is
without any other flaws would go a long way
toward that. I think, you know, what we look
for in clinical science is often replication of
results. So I would say that point is
somewhat -- is slightly controversial. I would
say that there would still be some people who
would doubt a single trial even if it were
highly statistically significant and
well-designed.

Generally established, I think you

 

 

36 (Pages 138 to 141)
OrIKHH KWH

NNNNNPRPBRHPE REPEL LR
PHY KYDrF OW MIAH UO PWN HOw

ODn~7KD UM PWD

NNNNNEFE PRB P PPE PEE
BPWNYEOWAIYHDA OBWNHOwWw

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could make a pretty strong argument for. I mean
I would say under very select circumstances that
I would almost go that far.
I find it really hard to answer that
question yes or no. I would say that
replication is a really important part of our
clinical research process, and until a finding
had been replicated there would still be some
doubt.
BY MR. POLUBINSKI:
Q. Do your generally accepted criteria
for efficacy consider potential side effects or
adverse events associated with a medication?
MR. RONA: Objection.
A. My -- I believe my conclusion here
does not consider side effects. I was speaking
strictly of the efficacy outcome measures.
BY MR. POLUBINSKI:
Q. So the total evidence that you refer
to here that does not meet the generally
established criteria for efficacy are the four
DBRCTs that you included in your meta-analysis,
am I right in understanding that?
A. Well, I think that -- no, the total

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prophylaxis, correct?

A. Yes.

Q. You have not reviewed any studies in
connection with your opinions here that relate
to acute treatment of migraine, is that correct?

A. To my knowledge, there don't exist any
studies of Neurontin for acute treatment of
migraine.

Q. Okay. I'm assuming that in this
report you're not offering any opinion on
gabapentin's efficacy one way or the other for
acute treatment of migraine?

A. Ibelieve, I believe I would -- if I
didn't state it explicitly, I think my search
strategy was comprehensive enough for me to
conclude that there do not exists any published
studies, double-blind, randomized controlled
trials of acute treatment of gaba -- of migraine
treatment with gabapentin.

I didn't make any constraints. I
think that I was looking, strictly speaking, at
migraine prophylaxis, I was looking at any
treatment of migraine with Neurontin.

I mean I think had I found such

 

 

 

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evidence -- well, why what did we decide. We
decided there were four double-blind, randomized
controlled trials that had been performed, and
then there was a little bit of question about
whether a couple -- actually it was one, two,
three, four, five. So including di Trapani,
Jimenez-Hernandez, and the three research
reports.

Q. So you do include Jimenez-Hernandez?

A. No, I guess I just said that from the
four, didn't I? My sentence would lead me to
believe that I just considered the four unique
double-blind trials, yes, placebo-controlled
trials.

Q. Is there anything other than the
sentence that suggests otherwise to you?

A. Well, I did describe the
Jimenez-Hernandez in my report, and I think it
was partly the basis of my conclusions. Maybe
it colored my interpretation of the validity of
comparing across dosage strengths in the four
randomized double-blind trials.

Q. All of the DBRCTs you reviewed and the

 

Jimenez-Hernandez study all studied migraine

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studies of acute treatment, then I would have
probably included them in my report,

Q. Okay. But you don't discuss, aside
from differentiating between a migraine
prophylaxis and acute treatment of migraine at
the very beginning of your report, you don't
discuss acute treatment of migraine in your
report at all?

MR. RONA: Objection.
A. Because there was no evidence.
Perhaps I should have made a statement
that there was no -- there are no trial -- I
found no trials of acute treatment for migraine.
Certainly in my clinical experience I
don't know of any, any guidelines or any one, or
any other evidence that suggested using an acute
treatment.
BY MR. POLUBINSKI:

Q. Okay. Your report, I take it, doesn't
address headache other than migraine at all?

A. That's right. That was the scope of
the report that I had outlined in the beginning
of the project.

Q._ So I take it you're not offering an

 

 

37 (Pages 142 to 145)
owt nm PWD

NNNNNFPEPHPHEP HEB PPE
PFWNYeEF OW DIHO BWYNHFP OW

OryN AU BWNP

NNNNNHE HEHE EE Hee BE
BPwWN PrP OW OI HR UMN BwWNH Ow

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MR. RONA: Objection.

A. Well, Figure 3 represents a
meta-analysis of a secondary outcome measure
that was most commonly reported. And I wouldn't
characterize it as being the same as the
headache frequency, which was the meta-analysis
of the primary outcome measure.

BY MR. POLUBINSKI:

Q. Okay. How is it different?

A. As I said, when I'm setting up the
plan for what analyses to do, I would base it on
the primary outcomes first because that was the
one that studies were designed to measure, the
ones they put the most care in measuring, the
ones they thought was the best reflection of the
measure of efficacy within the study.

So similarly when I meta-analyzed the
outcomes of the study, I would place more
importance on the meta-analysis of the primary
to measure headache frequency than I would the
50 percent reduction in headache frequency.

So --

Q. So you'd place more importance on the

results of the meta-analysis reflected in Figure

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1980s that was referred to in the Wessely
abstract, correct?

A. Yes.

Q. Okay. The second study, RR995-00085,
I believe corresponds to study number 945-217,
is that correct?

A. Yes,

Q. And then the next one on your list,
RR995-00074, corresponds with study number
945-220, correct?

A. Yes.

Q. And then the last one, the di Trapani
study, is just the published di Trapani study
that you reviewed, correct?

A. To the best of my knowledge, yes.

Q. Good.

Okay. Now, the last row here on
Figure 2, the row that doesn't have anything
listed for "study name," is the row that reports
the results of your meta-analysis, the summary
effect size estimate as you called it, is that
correct?

A. Yes.

Q. Okay. Walking through the columns,

 

 

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2 than you would the meta-analysis reflected in
Figure 3?

A. Yes.

Q. Okay. Let's walk through Figure 2,
since that's the one on which you place more
importance, to make sure that I understand what
youre doing in it.

Each row in Figure 2 represents a
different one of the studies from which you took
data for your meta-analysis, correct?

A. Correct.

Q. And recognizing that these numbers are
long numbers, I wonder whether one thing we
ought to do just to make sure the record is
clear on this is that at times you also refer in
your report to study numbers that are different
from the research report numbers, is that
correct?

A. Yes.

Q. Am I correct that the first study in
your meta-analysis, RR4301-00066, corresponds to
study number 879-200?

A. Yes.

Q._ And that one is the study from the

 

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the first column here, study name we went
through, correct?

A. Yes.

Q. The subgroup within the study, what
this reflects is that you were in each of these
studies analyzing the efficacy subgroup, is that
correct?

A. Yes,

Q. The next column is "Outcome." And in
each case you're measuring either headache
frequency, or in the case of the early study
headache frequency reduction, correct?

A. Yes.

Q. The next column is "Time point,"
correct?

A. Yes.

Q. And this reflects the time point from
which you are deriving your data, the time point
during the study from which you're extracting
your data, correct?

A. Yes.

Q. Okay. The next column is "Standard
error." What's that?

A._The standard error is a measure of the

 

 

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annum B® WD B

NNNNNHP HB BE HP PPE
PWDNDEFP OCHO OBIYDRNKNAWNE Ow

OnwAIND UO PW DY

NNNNNFPP PB EEE Ee pp
PWNYP OCU WAI NHRU BWP POW

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graph where the heading reads "Standard diff in
means and 95 percent CI."
Are you with me?

A. Yes,

Q. And let's look at the summary line at
the bottom.

A. Okay.

Q. I take it in looking at the summary
line on the bottom, we should be looking at the
diamond that appears on this graph?

A. Yes.

Q. And the center of the diamond is meant
to be, or meant to correspond with the number
reflected in the standard difference in means
column, is that correct?

A. Yes.

Q. And the right edge of the diamond is
meant to correspond with the upper limit?

A. Yes,

Q. And the left edge of the diamond is
meant to correspond with the lower limit,
correct?

A. Yes.

Q. And am I correct to understand that we

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correct?

A. I believe so. That sounds familiar.
Yes.

Q. Okay. Would you agree with me that
what the current P statistic means is that we
can be 92.3 percent confident that, in fact,
gabapentin is more efficacious that placebo in
reducing headache frequency under your analysis?

A. No, I don't -- I wouldn't go so far as
to say that. That's -- I might have to think
about it a little more. That would be an
unusual way of phrasing the meaning of the P
value.

Q. Why wouldn't you phrase it that way?

A. I guess because I tend to think of the
decisions about efficacy to be an either/or
decision to a certain extent with regard to
interpreting a P value, either it does meet the
threshold that's described by whatever alpha
value you're using, or it does not. And in this
case it fails to meet the threshold.

Q. Ifthe alpha value you were using was
90 percent instead of 95 percent, your
meta-analysis would show that gabapentin meets

 

 

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can be 95 percent confident the true effect of
gabapentin lies somewhere within that diamond
according to your meta-analysis?

A. According to this analysis, yes, that
would be the colloquial interpretation of that,
yes.

Q. Apologies for my colloquiality.

A. I don't mean to be insulting.

Q. I'm not a mathematician or
statistician. I'm doing my best.

And it's the fact that the left edge
of this diamond crosses over the zero line that
would show us under your analysis that we can't
be sure with 95 percent confidence that
gabapentin works better than placebo?

A. That's correct.

Q. Let's look at the P statistic, the P
value in your Figure 2. It's now .077, correct?

A. Yes.

Q. Which is a lower number than it had
been in the prior version of your report,
correct?

A. That's correct.

Q. In the prior version was .111,

 

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that threshold, correct?

A. Yes, but that would be an unreasonable
alpha value. Alpha values are usually the -- if
the smaller number of an alpha of .05 is what
we're using here, and I think what you meant to
say was an alpha value of .1, if you made the
criteria more generous, if you will.

Q. IfI made the criteria more generous
than what?

A. Than .05, so you raised it to .1,
we're willing to accept what's kind of referred
to as a statistical trend as being evidence of
efficacy. In that case, yes, but I think that's
an unreasonable assumption.

Q. Okay. But you would agree that
there's a statistical trend favoring gabapentin
over placebo even under your meta-analysis,
correct?

A. Yes.

Q. And that's the case in the revised
version of your meta-analysis, although it
wasn't in your original version, correct?

A. Yes,

Q._ You have not set out in your opinion

 

 

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